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             IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF TENNESSEE AT JACKSON
  ________________________________________________________________________

  MELVIN HARRIS, ELESE HARRIS
  and BERNICE EDWARDS,

                        Plaintiffs,

  vs.                                          NO: 1:11-CV-01040
                                               JURY DEMANDED

  ALLSTATE PROPERTY and
  CASUALTY INSURANCE CO.,

                    Defendant.
  ________________________________________________________________________

              CONSENT ORDER OF DISMISSAL WITH PREJUDICE
  ________________________________________________________________________

         It appearing to the satisfaction of the Court, that all things and matters in

  controversy between Melvin Harris, Elese Harris, Bernice Edwards and Allstate Property

  and Casualty Insurance Company, have been fully settled and compromised, as

  evidenced by the signatures hereto of counsel for the respective parties, and that the

  Plaintiff’s case against Defendant should be dismissed with prejudice, with each party to

  pay their own attorney’s fees and bear their own discretionary costs.

         IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED as follows:

         1.      The Plaintiff’s cause of action against the Defendant is hereby dismissed

                 with prejudice.

         2.      Each party shall pay their own attorney’s fees and bear their own

                 discretionary costs.
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        IT IS SO ORDERED this 6th day of September 2011.

                                         s/ J. DANIEL BREEN
                                         UNITED STATES DISTRICT JUDGE


  APPROVED FOR ENTRY:



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